Case 18-16393-pmm        Doc 41    Filed 05/03/19 Entered 05/03/19 15:16:33            Desc Main
                                  Document      Page 1 of 1




                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                       :
Tama Stoeber
Daniel Stoeber                               : Chapter 13
                                             :
                                             : Bankruptcy No: 18-16393-ref


           ORDER DIRECTING EMPLOYER TO MAKE WAGE DEDUCTION
                  FOR REMITTANCE TO STANDING TRUSTEE


To the Daniel Stoeber’s Employer:

       The future earnings of the Debtor, Daniel Stoeber are subject to the continuing
supervision and control of the Court for the purpose of enforcing and carrying out the Debtor’s
plan.

       IT IS THEREFORE ORDERED, that the employer of the Debtor shall deduct from the
wages of the Debtor, beginning with the next pay period after receipt of the Order the sum of:


                                     $167.50 weekly

        The employer shall continue these deductions until further Order of this Court and shall
remit all monies withheld from the Debtor’s wages at least monthly, or more frequently to the
Standing Trustee whose name and address appear below.


Date: May 3, 2019
                                             _________________________________
                                             Honorable Richard E. Fehling
                                             United States Bankruptcy Judge

Make check payable to:
Scott Waterman, Trustee
PO Box 680
Memphis, TN 38101-1799

Payroll Controller
East Penn Manufacturing Co.
